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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




 IN RE GOOGLE ADVERTISING
                                                   Case No. 1:21-md-03010 (PKC)
 ANTITRUST LITIGATION
                                                   DECLARATION OF SEAN P.
                                                   RODRIGUEZ IN SUPPORT OF
                                                   APPLICATION FOR ADMISSION
                                                   PRO HAC VICE


I, Sean P. Rodriguez, hereby declare as follows:

   1. I have never been convicted of a felony.

   2. I have never been censured, suspended, disbarred or denied admission or readmission by
      any court.

   3. There are no pending disciplinary proceedings against me in any state or federal court.

   4. I am a member in good standing of the bar of the State of California.


I hereby declare under penalty of perjury that the foregoing statements are true and correct.


Dated: September 16, 2021             Respectfully Submitted,


                                      /s/ Sean P. Rodriguez

                                      Sean P. Rodriguez
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                                      The Nation Company, L.P., and The Progressive, Inc.
